
542 S.E.2d 650 (2000)
351 N.C. 365
STATE of North Carolina
v.
Larry LEGGETT.
No. 519P99.
Supreme Court of North Carolina.
February 3, 2000.
Nora Henry Hargrove, Wilmington, for Leggett.
Francis W. Crawley, Special Deputy Attorney General, C. Branson Vickory, III, District Attorney, for State.
Prior report: 135 N.C.App. 168, 519 S.E.2d 328.

ORDER
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by Defendant in this matter pursuant to G.S. 7A-30 (substantial constitutional question), the following order was entered and is hereby certified to the North Carolina court of Appeals: the notice of appeal is
"Dismissed ex mero motu by order of the Court in conference, this the 3rd day of February 2000."
Upon consideration of the petition filed by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the court in conference, this the 3rd day of February 2000."
